928 F.2d 1133
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Melvin J. GITLER, Defendant-Appellant.
    No. 90-2391.
    United States Court of Appeals, Sixth Circuit.
    March 25, 1991.
    
      E.D.Mich., 90-80053, Woods, J.
      E.D.Mich.
      APPEAL DISMISSED.
      Before KEITH and BOYCE F. MARTIN, Jr., Circuit Judges;  and CONTIE, Senior Circuit Judge.
    
    ORDER
    
      1
      This court entered an order on February 8, 1991, directing the appellant to show cause within twenty-one days why the appeal should not be dismissed for lack of jurisdiction because of a late notice of appeal.  Appellant has failed to respond.
    
    
      2
      It appears from the file that the final order was entered October 2, 1990.  The notice of appeal filed on December 6, 1990, was 55 days late.  Fed.R.App.P. 4(b) and 26(a).
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(b) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.    United States v. Hatfield, 815 F.2d 1068, 1073 (6th Cir.1987);  United States v. Merrifield, 764 F.2d 436, 436-37 (5th Cir.1985) (per curiam).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    